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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

United States of America,

               Plaintiff,
                                                                 Criminal No. 07-123(4) (JNE)
v.                                                               Civil No. 12-151 (JNE)
                                                                 ORDER
Derek Joseph Carlson,

               Defendant.

       After a jury had found Derek Joseph Carlson guilty of conspiracy to distribute 500 grams

or more of a mixture and substance containing a detectable amount of methamphetamine, the

Court denied his motion for a new trial, denied his attorney’s motion to withdraw, and sentenced

him to 130 months’ imprisonment. Carlson appealed, and the Eighth Circuit affirmed. United

States v. Carlson, 613 F.3d 813 (8th Cir. 2010), cert. denied, 131 S. Ct. 1058 (2011). The case is

before the Court on Carlson’s motion to vacate, set aside, or correct his sentence under 28 U.S.C.

§ 2255 (Supp. III 2009),1 as well as his motion for leave to conduct discovery. Because the

record conclusively shows that he is not entitled to relief, the Court denies his § 2255 motion

without an evidentiary hearing. See Engelen v. United States, 68 F.3d 238, 240 (8th Cir. 1995).

Discerning no good cause for discovery, the Court denies Carlson’s motion for leave to conduct

discovery. See Rule 6(a) of the Rules Governing Section 2255 Proceedings (“A judge may, for

good cause, authorize a party to conduct discovery . . . .”).

       Carlson’s § 2255 motion essentially concerns the same subject matter as his motion for a

new trial and his attorney’s motion to withdraw. The Court denied the motions after a hearing,

and the Eighth Circuit affirmed. Carlson, 613 F.3d at 817-19. In broad terms, there might have



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       The Court expresses its gratitude to Elizabeth Royal for accepting an appointment to
represent Carlson in connection with his § 2255 motion.


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been a witness who might have testified that he had information about conversations overheard

in a jail. At the post-trial hearing, “counsel confirmed . . . that none of the available witnesses

would have testified as to a plot regarding manufactured testimony at Carlson’s trial.”2 Id. at

819. To the extent Carlson now claims that the witness had information regarding a plot to

manufacture testimony in Carlson’s trial and that the attorney did not proffer the information

because of a conflict of interest, his claim is supported by hearsay in an investigator’s affidavit

that reveals the witness is unwilling to submit to a formal interview or to testify. The record

warrants neither discovery nor relief under § 2255. See Haouari v. United States, 510 F.3d 350,

354 (2d Cir. 2007).

       None of the alleged bases on which Carlson’s § 2255 motion is grounded supports the

requested relief. Carlson does not fall within the ambit of Holloway v. Arkansas, 435 U.S. 475

(1978). See Ausler v. United States, 545 F.3d 1101, 1103-04 (8th Cir. 2008). He has not

demonstrated that an actual conflict of interest adversely affected his attorney’s performance

such that relief under Cuyler v. Sullivan, 446 U.S. 335 (1980), would be appropriate. See Noe v.

United States, 601 F.3d 784, 790-91 (8th Cir. 2010). And he has not demonstrated a deficiency

in his attorney’s performance that prejudiced him such that relief under Strickland v.

Washington, 466 U.S. 668 (1984), would be appropriate. See Noe, 601 F.3d at 791.

       For these reasons and those set forth in the Government’s Response to Defendant’s

Section 2255 Petition, as well as the Court’s review of the record, the Court denies Carlson’s

§ 2255 motion. The Court also denies Carlson’s motion for leave to conduct discovery.




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         At the post-trial hearing, the Court asked Carlson’s attorney: “You do not claim to have
witnesses who would testify that there was a plot to manufacture testimony in the Carlson trial.
Is that correct?” The attorney responded, “That’s correct, Your Honor.”


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       An appeal cannot be taken from a final order denying a motion under § 2255 without a

certificate of appealability. 28 U.S.C. § 2253(c)(1)(B) (2006); Fed. R. App. P. 22(b)(1). A court

cannot issue a certificate of appealability unless the applicant has made a “substantial showing of

the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). “Where a district court has rejected

the constitutional claims on the merits, the showing required to satisfy § 2253(c) is

straightforward: The petitioner must demonstrate that reasonable jurists would find the district

court’s assessment of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529

U.S. 473, 484 (2000). Here, Carlson has not demonstrated that reasonable jurists would find the

rejection of his claim debatable or wrong. Thus, the Court declines to issue a certificate of

appealability.

       Based on the files, records, and proceedings herein, and for the reasons stated above, IT

IS ORDERED THAT:

       1.        Carlson’s § 2255 motion [Docket No. 423 in Criminal No. 07-123(4)] is
                 DENIED.

       2.        Carlson’s motion for leave to conduct discovery [Docket No. 425 in Criminal No.
                 07-123(4)] is DENIED.

       3.        A certificate of appealability is DENIED.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: May 9, 2012

                                                              s/ Joan N. Ericksen
                                                              JOAN N. ERICKSEN
                                                              United States District Judge




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